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 1                                                          Judge Franklin D. Burgess
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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT TACOMA
 9

10   UNITED STATES OF AMERICA,        )
                                       )             NO. CR05-5828FDB
11                    Plaintiff,       )
                                       )
12         v.                          )             REQUEST AND ORDER
                                       )             FOR DISMISSAL
13   WILLIAM C. RODGERS,              )
                                       )
14                    Defendant.       )
     _________________________________)
15

16         Comes now, the United States of America, by and through John McKay, United
17   States Attorney for the Western District of Washington, Mark Bartlett, First Assistant
18   United States for said District, and Andrew C. Friedman, Assistant United States
19   Attorney for said District, pursuant to Federal Rule of Criminal Procedure 48(a), and asks
20   that the Court dismiss the charges brought in this case against William C. Rodgers.
21         Following his indictment on December 7, 2005, Rodgers was arrested in Arizona
22   on the charges in this case. Rodgers committed suicide while in custody and prior to
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

                                                                                UNITED STATES ATTORNEY
                                                                                 700 Stewart Street, Suite 5220
     REQUEST AND ORDER FOR DISMISSAL/RODGERS                                    Seattle, Washington 98101-1271
     (CR05-5828FDB) - 1                                                                  (206) 553-7970
            Case 3:05-cr-05828-RBL       Document 20      Filed 05/19/06     Page 2 of 2



 1   being transported to the Western District of Washington. As a result, the charges against
 2   Rodgers should be dismissed.
 3         DATED this eighteenth day of May, 2006.
 4                                            Respectfully submitted,
 5                                            JOHN McKAY
                                              United States Attorney
 6

 7                                            s/Mark Bartlett
                                              MARK BARTLETT
 8                                            First Assistant United States Attorney
 9
                                              s/Andrew C. Friedman
10                                            ANDREW C. FRIEDMAN
                                              Assistant United States Attorney
11

12                                            700 Stewart Street, Suite 5220
                                              Seattle, Washington 98101
13                                            Telephone: (206) 553-2277
                                              Fax:         (206) 553-0755
14
                                              E-mail:      Andrew.Friedman@usdoj.gov
15                                                         Mark.Bartlett@usdoj.gov

16
           Leave of the Court is granted for the filing of the foregoing dismissal and the
17
     charges against William C. Rodgers in the Superseding Indictment are hereby
18
     DISMISSED.
19
           DATED this 19th day of May, 2006.
20

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22




                                              A
23

24

25
                                              FRANKLIN D. BURGESS
26                                            United States District Judge
27

28


                                                                                 UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
     REQUEST AND ORDER FOR DISMISSAL/RODGERS                                     Seattle, Washington 98101-1271
     (CR05-5828FDB) - 2                                                                   (206) 553-7970
